              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                    CIVIL CASE NO. 1:05cv212
                 (CRIMINAL CASE NO. 1:01cr48-9)


TIMNAH RUDISILL,            )
                            )
              Petitioner,   )
                            )
              vs.           )                  ORDER
                            )
                            )
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
___________________________ )

     THIS MATTER is before the Court upon Petitioner’s motion to amend

his Rule 60(b) motion. [Doc. 13].

     Petitioner’s Rule 60(b) motion [Doc. 11] was denied by an Order of this

Court entered December 11, 2008. [Doc. 12]. Petitioner cannot amend a

pleading that is no longer pending.

     Accordingly, IT IS, THEREFORE, ORDERED that Petitioner’s motion to

amend [Doc. 13] is DENIED.

     IT IS SO ORDERED.                Signed: April 24, 2012




   Case 1:01-cr-00048-MR-WCM    Document 569    Filed 04/24/12   Page 1 of 1
